


  Appeal by the defendant, as limited by her motion, from a sentence of the Supreme Court, Kings County (D’Emic, J.), imposed July 30, 2015, upon her plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The defendant’s purported waiver of her right to appeal was invalid (see People v Bradshaw, 18 NY3d 257, 267 [2011]; People v Lopez, 6 NY3d 248, 257 [2006]; People v DeSimone, 80 NY2d 273, 283 [1992]) and, thus, does not preclude review of her excessive sentence claim. However, the sentence imposed was not excessive (see People v Suitte, 90 AD2d 80 [1982]).
 

  Eng, P.J., Hall, Austin, Duffy and Connolly, JJ., concur.
 
